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                      UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF IDAHO



ELDON GALE SAMUEL, III,
                                          Case No. 2:20-cv-00545-REP
                   Petitioner,
                                          ORDER
      v.

TEREMA CARLIN,

                   Respondent.


     IT IS ORDERED that all pending motions for extensions of time (Dkt. 9, 10, and

13) are GRANTED.



                                            DATED: December 1, 2021


                                            ________________________
                                            Honorable Raymond E. Patricco
                                            United States Magistrate Judge
